     Case 3:18-cv-02446-K Document 1 Filed 09/13/18          Page 1 of 11 PageID 1




                              DISTRICT COURT
                         NORTHERN DISTRICT OF TEXAS
                            FORT WORTH DIVISION

DAILAH RICHARDSON,                         §
                                           §
            Plaintiff,                     §
                                           §
v.                                         §    Case No. 3:18-cv-2446
                                           §
CENTRAL CREDIT SERVICES, LLC               §
and ALLIED INTERSTATE, LLC,                §
                                           §
            Defendants.                    §
                                           §

            PLAINTIFF’S COMPLAINT FOR DECLARATORY,
           INJUNCTIVE, PUNITIVE, AND MONETARY RELIEF

      Plaintiff, DAILAH RICHARDSON (“Ms. Richardson” or “Plaintiff”), files

this complaint against Defendants Allied Interstate, LLC (“Defendant Allied) and

Defendant Central Credit Services (“Defendant Central Credit”) (collectively

“Defendants”), and, in support thereof, states as follows:

                                   INTRODUCTION

      1.     This action arises under the Fair Debt Collection Practices Act

(“FDCPA”), 15 U.S.C. §§ 1692-1692p, the Texas Debt Collection Act (“DCPA”),

Tex. Fin. Code. §§ 392-392.404, and common-law breach of contract for

Defendants’ failure to honor Plaintiff’s agreed to payment plan in place for paying

off her Sallie Mae student loan.
    Case 3:18-cv-02446-K Document 1 Filed 09/13/18         Page 2 of 11 PageID 2



      2.     The United States Congress has found abundant evidence of the use of

abusive, deceptive, and unfair debt collection practices by many debt collectors,

and has determined that abusive debt collection practices contribute to the number

of personal bankruptcies, to marital instability, to the loss of jobs, and to invasions

of individual privacy. Congress wrote the FDCPA, to eliminate abusive debt

collection practices by debt collectors, to ensure that those debt collectors who

refrain from using abusive debt collection practices are not competitively

disadvantaged, and to promote consistent State action to protect consumers against

debt collection abuses.

      3.     The Texas legislature also enacted the DCPA to eliminate abusive

debt collection practices by debt collectors, to ensure that those debt collectors who

refrain from using abusive debt collection practices are not competitively

disadvantaged, and to promote consistent State action to protect consumers against

debt collection abuses.

      4.     Plaintiff, by Plaintiff’s attorneys, brings this action to challenge the

actions of Defendants with regard to attempts by Defendants, debt collectors, to

unlawfully and abusively collect a student loan debt owed by causing her Sallie

Mae student loan default by transferring her student loan among various debt

collection agencies, without any notice, thus leaving Plaintiff without a party

whom will accept her payments previously made. When finally contacted by a
    Case 3:18-cv-02446-K Document 1 Filed 09/13/18          Page 3 of 11 PageID 3



party allegedly authorized to collect on the loan, Defendants not only demanded

higher monthly payments, but refused to put any terms in a writing in a payment

plan so Plaintiff can have certainty of payments in the constant rotation of her loan

among various collectors.

      5.     Plaintiff makes these allegations on information and belief, with the

exception of those allegations that pertain to another plaintiff, or to a plaintiff’s

counsel, which Plaintiff alleges on personal knowledge.

      6.     While many violations are described below with specificity, this

Complaint alleges violations of the statute cited in its entirety.

      7.     Unless otherwise stated, all the conduct engaged in by Defendants

took place in Texas.

      8.     Any violations by Defendants were knowing, willful, and intentional,

and Defendants did not maintain procedures reasonably adapted to avoid any such

violation.

      9.     Unless otherwise indicated, the use of Defendants’ names in this

Complaint includes all agents, employees, officers, members, directors, heirs,

successors, assigns, principals, trustees, sureties, subrogees, representatives, and

insurers of Defendant’s named.

      10.    This action seeks declaratory, compensatory, statutory, and punitive

damages, and costs and reasonable attorneys’ fees for Ms. Richardson against
    Case 3:18-cv-02446-K Document 1 Filed 09/13/18      Page 4 of 11 PageID 4



Defendants for their willful and/or negligent violations of, among others, the Fair

Debt Collection Practices Act.

                                    PARTIES

      11.   Ms. Richardson is a natural person who resides in Arlington, Texas.

      12.   Defendant Allied Interstate, LLC (“Allied”) is a foreign limited-

liability company conducting business in the state of Texas. Allied may be served

with process at C T Corporation System, 1999 Bryan Street, Ste. 900, Dallas,

Texas 75201-3136.

      13.   Defendant Central Credit Services (“Central Credit”) is a foreign

limited liability company doing business throughout the country and transacting

business in the state of Texas. Defendant may be served with process at C T

Corporation System, 1999 Bryan Street, Suite 900, Dallas, Texas 75201-3136.

                        JURISDICTION AND VENUE

      14.   This action arises under federal FDCPA laws and state statutory and

common-laws. This Court has jurisdiction over the federal claims pursuant to 28

U.S.C. §1331 and supplement jurisdiction over the state claims. 20 U.S.C. §

1367(a).

      15.   Venue lies in the United States Court for the Northern District of

Texas because Defendant transacts business in this District by and through the
    Case 3:18-cv-02446-K Document 1 Filed 09/13/18       Page 5 of 11 PageID 5



collection of consumer debts in this and District and subject to the personal

jurisdiction of this Court. 28 U.S.C. § 1391.

                            FACTUAL ALLEGATIONS

      16.    In 2008, Ms. Richardson took out a student loan with Navient branch

of Sallie Mae in the amount of approximately $132,000, which was transferred to

Defendant Central Credit.

      17.    For about two years, Plaintiff made monthly payments to Central

Credit in the amount of $250.00. Plaintiff has also negotiated down her interest rate

to almost 1% and was in a good-standing relationship with Central Credit on her

student loan account, making payments in accordance to the agreed plan.

      18.    As evidence of that plan, Defendant Central Credit did not give her

the plan in writing but as evidence of the plan Defendant Central Credit

automatically withdrew the monthly amount owed from her account.

      19.    Around 2017, Defendant Central Credit suddenly stopped taking her

payments.

      20.    Plaintiff tried to contact Central Credit but no one was available and

she could not reach anyone to speak to about her loan.

      21.    Plaintiff has no other parties to make payments to and was left

wondering about her loan.
    Case 3:18-cv-02446-K Document 1 Filed 09/13/18        Page 6 of 11 PageID 6



      22.    Around October 30, 2017, Plaintiff got a call from Defendant Allied

regarding the loan payments.

      23.    Without any notification, Defendant Central Credit had assigned her

loan to Defendant Allied. Ms. Richardson only learned of the assignment when

she received the call from Defendant Allied Interstate.

      24.    Defendant Allied demanded a much larger payment on her loan than

Plaintiff already had in place with Defendant Central Credit.

      25.    In the transfer, Defendant Central Credit did not process her payments

and thereby increase accrual of interest against her. She had no point of contact or

opportunity to fix this issue, especially as she had no knowledge of the transfer.

      26.    Defendant Allied not only demanded a whole new down payment and

payment plan from Ms. Richardson, which she did not understand, it also added

$863 dollars interest a month.

      27.    All conditions precedent to filing this lawsuit have been completed.

      28.    Unless otherwise indicated, the use of Defendants’ names in this

Complaint includes all agents, employees, officers, members, directors, heirs,

successors, assigns, principals, trustees, sureties, subrogees, representatives, and

insurers of the named Defendant.
    Case 3:18-cv-02446-K Document 1 Filed 09/13/18        Page 7 of 11 PageID 7



                                 COUNT ONE
                         VIOLATION OF THE FDCPA
                            15 U.S.C. §§ 1692-1692P
                          (AGAINST DEFENDANTS)

      29.    Plaintiff incorporated by reference all preceding paragraphs of this

Complaint as though fully set forth herein.

      30.    15 U.S.C. §§ 1692-1692p regulates debt collectors in their efforts to

collect debts. Congressional findings and declaration pursuant to 15 U.S.C. § 1692

found that there was “abundant evidence of the use of abusive, deceptive, and

unfair debt collection practices by many debt collectors,” which contributed to

“personal bankruptcies, to marital instability, to the loss of jobs, and to the

invasions of individual privacy.” Congress also found that existing laws and

procedure for redressing these injuries were inadequate to protect consumers.

      31.    Plaintiff is a “consumer” pursuant to 15 U.S.C. 1692a(3).

      32.    The Debt is a “debt” pursuant to 15 U.S.C. § 1692a(5).

      33.    Defendants are “debt collectors” pursuant to 15 U.S.C. § 1692a(6).

      34.    Defendants violated multiple sections of 15 U.S.C. 1692-1692p,

including 15 U.S.C. § 1691e(2) in refusing to put her payment terms in writing and

falsely representing the character, amount, and legal status of the Debt.

      35.    Defendant also violated 15 U.S.C. § 1691e(8) in communication to

the CRAs credit information know or which should have been known to be false,
    Case 3:18-cv-02446-K Document 1 Filed 09/13/18       Page 8 of 11 PageID 8



including the failure to communicate that the Debt was disputed by Ms.

Richardson.

      36.     Defendant violated 15 U.S.C § 1692g(a-b) by failing to validate the

Debt within the prescribed time or at any time and failing to provide notification

required for a disputed debt.

      37.     Pursuant to 15 U.S.C. 1692k, Ms. Richardson is entitled to actual and

statutory damages, court costs, and attorney’s fees.

                                COUNT TWO
                         VIOLATION OF THE DCPA
                       (TEX. FIN. CODE §392.001 et seq.)
                          (AGAINST DEFENDANTS)

      38.     Plaintiff incorporates by reference all preceding paragraphs of this

Complaint as though fully set forth herein.

      39.     Defendants’ conduct violated numerous and countless provisions of

the DCPA, including sections 393.202 mandate for a third-party to correct its file

upon a consumer dispute on the file, 393.301(4) prohibition against assigning a

debt to a collector that subjects a consumer to illegal collection efforts, and

392.302 prohibition against harassing and abusive debt collection practices act.

      40.     Pursuant to Tex. Fin. Code §§ 392.404, a violation of the DCPA is a

deceptive trade practice under Subchapter E, Chapter 17, Business & Commerce

Code, and is actionable under that subchapter.
    Case 3:18-cv-02446-K Document 1 Filed 09/13/18       Page 9 of 11 PageID 9



        41.   Pursuant to Subchapter E, Chapter 17, Business & Commerce Code,

and is actionable under that subchapter, Ms. Richardson is entitled to

actual/economic     damages,    emotional     and/or   mental   anguish   damages,

exemplary/punitive damages, and Plaintiff’s attorneys’ fees and costs.

        42.   Additionally, Plaintiff seeks an award of discretionary additional

damages in an amount not to exceed three times the amount of economic damages

for Defendant’s conduct committed knowingly; and/or an amount not to exceed

three times the amount of economic and mental anguish damages for Defendant’s

conduct committed intentionally.

        43.   Plaintiff seeks reasonable and necessary attorney’s fees in this case

through the time judgment is entered and for any post-trial or post-judgment

appeals, to be detailed through a statement of services submitted at the appropriate

time.

                                COUNT TWO
                         VIOLATION OF THE DCPA
                       (TEX. FIN. CODE §392.001 et seq.)
                          (AGAINST DEFENDANTS)

        44.   Plaintiff incorporates by reference all preceding paragraphs of this

Complaint as though fully set forth herein.

        45.   Plaintiff and Defendant Central Credit had an agreement in place

regarding the amount, balance, and interest on Plaintiff’s student loan, evidenced

by Defendant Central Credit’s accept of Plaintiff’s payments for over two years.
   Case 3:18-cv-02446-K Document 1 Filed 09/13/18           Page 10 of 11 PageID 10



         46.   Defendant Central Credit and Defendant Allied breached that

agreement by demanding higher and different, more disadvantageous payments

terms, that was in place for the past two years.

         47.   Defendants thereby caused damages to Plaintiff by bringing her loan

into default, reporting her to the credit bureaus, and causing a decline in her credit

score.

         48.   Plaintiff seeks damages, reasonable and necessary attorney’s fees in

this case through the time judgment is entered and for any post-trial or post-

judgment appeals, to be detailed through a statement of services submitted at the

appropriate time.

                            DEMAND FOR JURY TRIAL

         49.   Plaintiff demands trial by jury on all issues so triable.

                               REQUEST FOR RELIEF

         WHEREFORE,          PREMISES        CONSIDERED,           Plaintiff   DAILAH

RICHARDSON requests that Defendants CENTRAL CREDIT SERVICES and

ALLIED INTERSTATE be cited to appear and answer herein and upon final

hearing hereof, Plaintiff have judgment of and against Defendants as follows:

   (1) an award enjoining Defendants from reporting the Debt;

   (2) a declaratory judgment be entered that Defendants’ conduct violated the

         FDCPA, DCPA, and common-law breach of contract claims;
  Case 3:18-cv-02446-K Document 1 Filed 09/13/18       Page 11 of 11 PageID 11



  (3) an award for all actual damages, exemplary damages, emotional/mental

     anguish damages, all attorney’s fees, costs of court, and pre-judgment and

     post-judgment interest at the highest lawful rates;

  (4) an award of treble damages pursuant to the DTPA;

  (5) an award of statutory damages pursuant to the FDCPA;

  (6) an award of costs and reasonable attorney’s fees pursuant to the FDCPA,

     DCPA;

  (7) an seeks an award of discretionary additional damages in an amount not to

     exceed three times the amount of economic damages if Defendant’s conduct

     is found to have been committed knowingly; or an amount not to exceed

     three times the amount of economic and mental anguish damages if

     Defendant’s conduct is found to have been committed intentionally; and

  (8) Any such other and further relief as may be just and proper.

                                      Respectfully submitted,
Dated: September 13, 2018
                                      By: /s/ Ramona Ladwig
                                      Ramona Ladwig
                                      Bar No. 24092659
                                      Anthony Chester
                                      Bar No. 24092659
                                      HYDE & SWIGART, APC
                                      1910 Pacific Ave, Suite 14155
                                      Dallas, TX 75201
                                      Phone: (214) 880-6362
                                      Fax: (800) 635-6425
                                      Email: ramona@westcoastlitigation.com
                                      Attorneys for Plaintiff
